Case 3:21-cr-00136-RGJ Document1 Filed 10/20/21 Page 1 of 4 PagelD #: 1

JAMES J. VILT. E
UNITED STATES DISTRICT COURT JR. - CLERK
WESTERN DISTRICT OF KENTUCKY OCT 20 2001
AT LOUISVILLE

U.S. DISTRICT COU
RT
WEST’N. DIST. KENTUCKY

INDICTMENT

UNITED STATES OF AMERICA

v. NO. $:9\-cR-I3b-R6d
18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)
ANTONEO WATKINS 18 U.S.C. § 924(d)
28 U.S.C. § 2461

 

The Grand Jury charges:

COUNT 1
(Possession of a Firearm by a Prohibited Person)

On or about October 14, 2021, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, ANTONEO WATKINS, knowingly possessed, in and affecting
commerce, a firearm, that is, a Glock, model 22, .40 caliber pistol, bearing serial number
BRZC415, and ammunition, with knowledge that he had previously been convicted in a court of a
crime punishable by imprisonment for a term exceeding one year, to wit:

On or about February 5, 2021, in Jefferson Circuit Court, Jefferson County,

Kentucky, in Case Number 19-CR-000717, ANTONEO WATKINS, was

convicted of the offense of Receiving Stolen Property Under $10,000.

In violation of Title 18, United States Code, Sections 922(g)(1), and 924(a)(2).

NOTICE OF FORFEITURE
As a result of committing an offense in violation of Title 18, United States Code, Section
922(g)(1), as alleged in this Indictment, the defendant, ANTONEO WATKINS, shall forfeit to

the United States, pursuant to Title 18, United States Code, Section 924(d), and Title 28, United
Case 3:21-cr-00136-RGJ Document1 Filed 10/20/21 Page 2 of 4 PagelD #: 2

States Code, Section 2461, all firearms and ammunition involved in the commission of the offense,
including, but not limited to a Glock, model 22, .40 caliber pistol, bearing serial number BRZC415,

and ammunition.

A TRUE BILL.

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FOREPERSON

 

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MICHAEL A. BENNETT
ACTING UNITED STATES ATTORNEY

 

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Case 3:21-cr-00136-RGJ Document1 Filed 10/20/21 Page 3 of 4 PagelD #: 3

UNITED STATES OF AMERICA v. ANTONEO WATKINS
PENALTIES
Count 1: NM 10yrs./$250,000/both/NM 3 yrs. Supervised Release
Forfeiture
NOTICE
ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.
SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

Misdemeanor: $ 25 per count/individual Felony: $100 per count/individual
$125 per count/other $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

1, INTEREST and PENALTIES as applicable by law according to last date of offense.
For offenses occurring after December 12, 1987:
No INTEREST will accrue on fines under $2,500.00.
INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
the time of sentencing. This rate changes monthly. Interest accrues from the first business day
following the two week period after the date a fine is imposed.
PENALTIES of:
10% of fine balance if payment more than 30 days late.
15% of fine balance if payment more than 90 days late.

2. Recordation of a LIEN shall have the same force and effect as a tax lien.

3. Continuous GARNISHMENT may apply until your fine is paid.

18 U.S.C. §§ 3612, 3613
If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE

of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
IMPRISONMENT for not more than 1 year or both. 18 U.S.C. § 3615
Case 3:21-cr-00136-RGJ Document1 Filed 10/20/21 Page 4 of 4 PagelD #: 4

APPEAL
If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

1. That you deposit the entire fine amount (or the amount due under an installment schedule
during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

2. Give bond for payment thereof.
18 U.S.C. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

LOUISVILLE: Clerk, U.S. District Court
106 Gene Snyder U.S. Courthouse
601 West Broadway
Louisville, KY 40202
502/625-3500

BOWLING GREEN: Clerk, U.S. District Court
120 Federal Building
241 East Main Street
Bowling Green, KY 42101
270/393-2500

OWENSBORO: Clerk, U.S. District Court
126 Federal Building
423 Frederica
Owensboro, KY 42301
270/689-4400

PADUCAH: Clerk, U.S. District Court
127 Federal Building
501 Broadway
Paducah, KY 42001
270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
